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                           UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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                                  SOUTHERN DIVISION
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       SECURITIES AND EXCHANGE                Case No. SACV 09-818 DOC (RNBx)
10     COMMISSION,
                                              FINAL JUDGMENT AS TO
11                Plaintiff,                  MEDICAL CAPITAL HOLDINGS,
                                              INC., MEDICAL CAPITAL
12      MEDICAL CAPITAL HOLDINGS,             CORPORATION, AND MEDICAL
        INC.; MEDICAL CAPITAL                 PROVIDER FUNDING
13      CORPORATION; MEDICAL                  CORPORATION VI
        PROVIDER FUNDING
14      CORPORATION VI; SIDNEY M.
        FIELD; and JOSEPH J.
15      LAMPARIELLO,
16                Defendants.
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 1          The Securities and Exchange Commission (“SEC”) having filed a Complaint,
 2    First Amended Complaint, and Second Amended Complaint, and Defendants
 3    Medical Capital Holdings, Inc. (“MCHI”), Medical Capital Corporation (“MCC”),
 4    and Medical Provider Funding Corporation VI (“MP VI”) (collectively
 5    “Defendants”), having entered a general appearance; consented to the Court’s
 6    jurisdiction over Defendants and the subject matter of this action; consented to entry
 7    of this Final Judgment without admitting or denying the allegations of the Second
 8    Amended Complaint (except as to jurisdiction), waived findings of fact and
 9    conclusions of law; waived any right to appeal from this Final Judgment.
10                                               I.
11          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendants
12    are permanently restrained and enjoined from violating, directly or indirectly, Section
13    10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §
14    78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5, by using any
15    means or instrumentality of interstate commerce, or of the mails, or of any facility of
16    any national securities exchange, in connection with the purchase or sale of any
17    security:
18          (a)    to employ any device, scheme, or artifice to defraud;
19          (b)    to make any untrue statement of a material fact or to omit to state a
20                 material fact necessary in order to make the statements made, in the light
21                 of the circumstances under which they were made, not misleading; or
22          (c)    to engage in any act, practice, or course of business which operates or
23                 would operate as a fraud or deceit upon any person.
24          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
25    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
26    binds the following who receive actual notice of this Final Judgment by personal
27    service or otherwise: (a) Defendants’ officers, agents, servants, employees, and
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 1    attorneys; and (b) other persons in active concert or participation with Defendants or
 2    with anyone described in (a).
 3                                               II.
 4          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
 5    Defendants are permanently restrained and enjoined from violating Section 17(a) of
 6    the Securities Act of 1933 (“Securities Act”), 15 U.S.C. § 77q(a), in the offer or sale
 7    of any security by the use of any means or instruments of transportation or
 8    communication in interstate commerce or by use of the mails, directly or indirectly:
 9          (a)    to employ any device, scheme, or artifice to defraud;
10          (b)    to obtain money or property by means of any untrue statement of a
11                 material fact or any omission of a material fact necessary in order to
12                 make the statements made, in light of the circumstances under which
13                 they were made, not misleading; or
14          (c)    to engage in any transaction, practice, or course of business which
15                 operates or would operate as a fraud or deceit upon the purchaser.
16          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
17    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
18    binds the following who receive actual notice of this Final Judgment by personal
19    service or otherwise: (a) Defendants’ officers, agents, servants, employees, and
20    attorneys; and (b) other persons in active concert or participation with Defendants or
21    with anyone described in (a).
22                                              III.
23          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
24    Defendant MCC is permanently restrained and enjoined from aiding and abetting any
25    violation of Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5
26    promulgated thereunder, 17 C.F.R. § 240.10b-5, by knowingly or recklessly
27    providing substantial assistance to an issuer that uses any means or instrumentality of
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 1    interstate commerce, or of the mails, or of any facility of any national securities
 2    exchange, in connection with the purchase or sale of any security:
 3           (a)    to employ any device, scheme, or artifice to defraud;
 4           (b)    to make any untrue statement of a material fact or to omit to state a
 5                  material fact necessary in order to make the statements made, in the light
 6                  of the circumstances under which they were made, not misleading; or
 7           (c)    to engage in any act, practice, or course of business which operates or
 8                  would operate as a fraud or deceit upon any person.
 9           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
10    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
11    binds the following who receive actual notice of this Final Judgment by personal
12    service or otherwise: (a) Defendant’s officers, agents, servants, employees, and
13    attorneys; and (b) other persons in active concert or participation with Defendant or
14    with anyone described in (a).
15                                               IV.
16           IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
17    Defendant shall pay disgorgement of $831,130,893.00, which disgorgement amount
18    is deemed satisfied by the distributions made by the Receiver to the investors in this
19    proceeding.
20                                               V.
21           IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
22    the SEC is has determined to forego seeking a civil penalty against Defendants.
23                                               VI.
24           IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
25    the Consent is incorporated herein with the same force and effect as if fully set forth
26    herein, and that Defendants shall comply with all of the undertakings and agreements
27    set forth therein.
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 1                                              VII.
 2          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
 3    this Court shall retain jurisdiction of this matter for the purposes of enforcing the
 4    terms of this Final Judgment.
 5                                              VIII.
 6          There being no just reason for delay, pursuant to Rule 54(b) of the Federal
 7    Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment forthwith
 8    and without further notice.
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10    Dated: 08/19/2016                       ____________________________________
                                              HONORABLE DAVID O. CARTER
11                                            UNITED STATES DISTRICT JUDGE
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